     Case 2:18-cr-00422-DJH Document 2079-1 Filed 04/26/24 Page 1 of 2



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                         IN THE UNITED STATES DISTRICT COURT
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                               FOR THE DISTRICT OF ARIZONA
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     United States of America,                                    CR-18-422-PHX-DJH
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                            Plaintiff,                     [PROPOSED] ORDER ON MOTION
13                                                            FOR CORRECTION OF THE
                v.                                          COURT’S APRIL 23, 2024 ORDER
14                                                                AND JUDGMENTS
                                                               (Docs. 2063, 2064, and 2066)
15   Michael Lacey, et al.,
16                          Defendants.
17
           Pursuant to the United States’ Motion for Correction of the Court’s April 23, 2024
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     Order and Judgments (Motion), and Fed. R. Crim. P. 36, IT IS ORDERED:
19
           1.        Granting the United States’ Motion;
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           2.        Amending the first full paragraph in the Conclusion of the April 23, 2024
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     Order (Doc. 2063 at 73:2-4), as follows (deleted text is stricken out; added text is
22
     underlined):
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           In conclusion, after viewing the record in the light most favorable to the
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           Government, the Court finds there is insufficient of evidence to support
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           convictions under Counts 19–51 as to Mr. Lacey and Counts 66–99 69–99
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           as to Messrs. Lacey, Brunst, and Spear.
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           3.        Amending the second full paragraph in the Conclusion of the Court’s April
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     Case 2:18-cr-00422-DJH Document 2079-1 Filed 04/26/24 Page 2 of 2




 1   23, 2024 Order (Doc. 2063 at 73:10-15) by omitting Counts 66-68 from the Counts covered
 2   by the Court’s directive to the Clerk to issue Judgments of Acquittal for Defendants
 3   Michael Lacey and John Brunst, as follows:
 4         IT IS ORDERED that Defendants’ Oral and Supplemental Rule 29 Motions
 5         (Docs. 2004; 2006; 2007) are granted in part and denied in part. The Clerk
 6         is directed to issue Judgments of Acquittal for Defendant Michael Lacey on
 7         Counts 19–51 and 66–70 69–70, 81, 83–84, 86, 88–92 and 94–99; for
 8         Defendant John Brunst on Counts 66–68, 78–84, 86–93; and for Defendant
 9         Scott Spear on Counts 71–78, 85 and 93. In all other respects, the Motions
10         are denied.
11         4.     Amending the second paragraph in the Judgment of Acquittal in United
12   States v. Michael Lacey, No. CR-18-00422-001-PHX-DJH (Doc. 2064 at 1:18-20), as
13   follows:
14          IT IS FURTHER ORDERED that pursuant to the Court’s Order filed April
15         23, 2024, the Defendant is hereby discharged as to Counts 19-51, 66-70, 69-
16         70, 81, 83-84, 86, 88-92 and 94-99 of the Superseding Indictment.
17         4.     Amending the second paragraph in the Judgment of Acquittal in United
18   States v. John Brunst, No. CR-18-00422-004-PHX-DJH (Doc. 2066 at 1:18-20), as
19   follows:
20          IT IS FURTHER ORDERED that pursuant to the Court’s Order filed April
21         23, 2024, the Defendant is hereby discharged as to Counts 66-68, 78-84 and
22         86-93 of the Superseding Indictment.
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